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IN THE UNITED sTATEs DISTRICT cOURT wav..-. ' -_---M
WESTERN DISTRICT oF TENNESSEE `
WESTERN DIVISION 0511_23§ PH 33 32
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INVENTORY LOCATOR sERvICE, LLC, TH%w$UiST!¢’aICTCOl!?T
OFTN,MEMP\'ES
Plaintiff,
vs. NO. 02-2695-Mav

PARTSBASE, INC.,

Defendant.

 

ORDER OF REFERENCE

 

Before the court is a letter from plaintiff’s counsel which
the court construes as a motion for referral of a motion to
dismiss to the magistrate judge. For good cause shown the motion
for referral is granted. The Motion to Dismiss Defendant
Partsbase's Counterclaims Due to Spoliation of Evidence, Docket
Entry No. 147, filed on June 20, 2005, is hereby referred to the
magistrate judge for a report and recommendation. Any exceptions
to the magistrate's report shall be made within ten (10) days of
her report, setting forth particularly those portions of the
order excepted to and the reasons for the exceptions.

IT IS so oRDERED this Udeay of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Donald C. Templin

HAYNES AND BOONE, LLP
901 Main Street

Ste. 3 100

Dallas, TX 75202--378

Travis 1\/1. Perry

HAYNES & BOONE LLP
901 Main St.

Ste. 3100

Dallas, TX 75202

Randall D. Noel

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 3 8103--246

John McQuiston

STOKES BARTHOLOMEW EVANS & PETREE, P.A.
1000 Ridgeway Loop Rd.

Ste. 200

1\/lemphis7 TN 38120

Peter D Marketos
HAYNES & BOONE LLP
901 Main St

Ste. 3 100

Dallas, TX 75202

W. Paul Hankins

HAYNES AND BOONE, LLP
901 Main Street

Ste. 3 100

Dallas, TX 75202--378

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Brian S. Faughnan

ARMS TRONG ALLEN, PLLC
80 Monroe Avenue

Ste. 700

1\/1emphis7 TN 38103--246

Honorable Samuel Mays
US DISTRICT COURT

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